Nebraska Supreme Court Online Library
www.nebraska.gov/apps-courts-epub/
02/14/2020 12:09 AM CST




                                                        - 605 -
                               Nebraska Supreme Court Advance Sheets
                                        304 Nebraska Reports
                                         ROGERS v. JACK’S SUPPER CLUB
                                              Cite as 304 Neb. 605



                                   Sheryl A. Rogers, appellee, v. Jack’s
                                     Supper Club and Continental
                                       Western Group, appellants.
                                                    ___ N.W.2d ___

                                        Filed December 6, 2019.   No. S-18-1018.

                 1. Workers’ Compensation: Appeal and Error. A judgment, order, or
                    award of the compensation court may be modified, reversed, or set aside
                    only upon the grounds that (1) the compensation court acted without or
                    in excess of its powers; (2) the judgment, order, or award was procured
                    by fraud; (3) there is not sufficient competent evidence in the record to
                    warrant the making of the judgment, order, or award; or (4) the findings
                    of fact by the compensation court do not support the order or award.
                 2. ____: ____. An appellate court is obligated in workers’ compensation
                    cases to make its own determinations as to questions of law.
                 3. ____: ____. Findings of fact made by the Workers’ Compensation Court
                    after review have the same force and effect as a jury verdict and will not
                    be set aside unless clearly erroneous.
                 4. Workers’ Compensation: Witnesses: Testimony. As the trier of fact,
                    the Workers’ Compensation Court is the sole judge of the credibility of
                    witnesses and the weight to be given their testimony.
                 5. Statutes: Intent. When interpreting a statute, the starting point and
                    focus of the inquiry is the meaning of the statutory language, understood
                    in context.
                 6. Statutes: Appeal and Error. Statutory language is to be given its plain
                    and ordinary meaning, and an appellate court will not resort to inter-
                    pretation to ascertain the meaning of statutory words which are plain,
                    direct, and unambiguous.
                 7. Statutes. It is not within the province of the courts to read meaning
                    into a statute that is not there or to read anything direct and plain out of
                    a statute.
                 8. Statutes: Legislature: Intent. When words of a particular clause, taken
                    literally, would plainly contradict other clauses of the same statute, or
                                    - 606 -
            Nebraska Supreme Court Advance Sheets
                     304 Nebraska Reports
                     ROGERS v. JACK’S SUPPER CLUB
                          Cite as 304 Neb. 605
    lead to some manifest absurdity or to some consequences which a court
    sees plainly could not have been intended, or to result manifestly against
    the general term, scope, and purpose of the law, then the court may
    apply the rules of construction to ascertain the meaning and intent of the
    lawgiver, and bring the whole statute into harmony if possible.
 9. Statutes: Legislature: Public Policy. It is the function of the Legislature,
    through the enactment of statutes, to declare what is the law and public
    policy of this state.
10. Workers’ Compensation: Liability. Voluntary payments of workers’
    compensation benefits do not constitute an admission of liability by
    an employer.

  Appeal from the Workers’ Compensation Court: J. Michael
Fitzgerald, Judge. Reversed and remanded with directions.
  Caroline M. Westerhold and Eric J. Sutton, of Baylor Evnen,
L.L.P., for appellants.
   Margaret R. Jackson, Todd R. McWha, and Tyler Volkmer,
of Waite, McWha &amp; Heng, for appellee.
  Heavican, C.J., Miller-Lerman, Cassel, Funke, Papik,
and Freudenberg, JJ.
   Papik, J.
   The Workers’ Compensation Court ordered Jack’s Supper
Club and Continental Western Group, its workers’ compensa-
tion carrier (collectively JSC), to reimburse Sheryl A. Rogers
for various medical expenses she incurred. In the same deci-
sion, the compensation court stated that Rogers could continue
to receive treatment from certain providers. We agree with
JSC, however, that it is not responsible to reimburse Rogers,
because she selected the physicians who provided the treatment
at issue in disregard of provisions of the Nebraska Workers’
Compensation Act. We also agree with JSC that the compensa-
tion court failed to adequately explain the basis for its order
that Rogers could continue to receive treatment from the speci-
fied providers. We thus reverse the order and remand the cause
with directions.
                             - 607 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                 ROGERS v. JACK’S SUPPER CLUB
                      Cite as 304 Neb. 605
                       BACKGROUND
Injury, Selection of Physician
in Form 50, and Settlement.
   Rogers injured her back while working for Jack’s Supper
Club in 2001. Shortly after the injury, she filled out a form
indicating that she was choosing a “Dr. Beyers” at the Dundy
County Hospital in Benkelman, Nebraska, to treat her for her
work-related injury. The parties appear to agree that the form
was a “Form 50” promulgated by the Workers’ Compensation
Court.
   Rogers later filed a petition in the compensation court
against JSC. After some litigation regarding Rogers’ claim, the
compensation court approved a lump-sum settlement in 2010.
The settlement resolved JSC’s liability for indemnity benefits.
JSC remained responsible to pay Rogers for reasonable and
necessary medical care for her work-related injury.

Dispute Regarding Reimbursement
for Medical Expenses.
   At some point not clear from our record, Dr. Beyers, the
physician that Rogers selected in the Form 50, died. Rogers
then received treatment from Dr. Lori Stonehocker, one of
Dr. Beyers’ colleagues. JSC apparently reimbursed Rogers for
treatment provided by Dr. Stonehocker.
   In 2010, Rogers moved to Florida and the parties’ counsel
engaged in a series of communications regarding Rogers’ treat-
ing physician. JSC initially expressed concern about Rogers’
receiving treatment from a provider in Nebraska while living
in Florida. It proposed that the parties agree to a pain manage-
ment specialist in Florida. Rogers’ counsel responded that she
would not agree with JSC to a pain management specialist.
Rogers’ counsel later informed JSC’s counsel that Rogers had
selected Dr. Jonathan Daitch, a pain management specialist
in Florida. After Rogers’ counsel informed JSC’s counsel that
there was no Form 50 and that Rogers was free to select her
own doctor, JSC’s counsel responded that there was a Form 50
                             - 608 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                 ROGERS v. JACK’S SUPPER CLUB
                      Cite as 304 Neb. 605
and that as a result, it was not clear what basis existed for
Rogers to unilaterally choose her own doctor.
   Rogers later filed a motion in which she alleged that JSC
was refusing to reimburse her for treatment provided by Dr.
Daitch. She asked that the compensation court order JSC to
reimburse her for such treatment.
Hearing on Motion to Compel Payment
for Medical Expenses.
   At the hearing on Rogers’ motion, she testified that she had
received treatment from both Dr. Daitch and Dr. Mark Means,
a chiropractor in Florida. No evidence was presented that JSC
agreed that Rogers could receive treatment from Dr. Daitch
or Dr. Means. Rogers testified that while she discussed see-
ing Dr. Daitch with Dr. Stonehocker, Dr. Stonehocker did not
refer her to Dr. Daitch. Rogers offered into evidence a number
of medical bills for treatment provided by Drs. Daitch and
Means. The majority of the treatment provided by Dr. Daitch
was pharmacological, and Rogers offered Dr. Daitch’s opin-
ion that due to the work-related injury, Rogers would require
a lifelong medication regimen of fentanyl, Norco, Lyrica,
and Valium.
   JSC offered the Form 50 and the communications between
its counsel and Rogers’ counsel regarding the selection of a
pain management specialist in Florida. JSC also offered medi-
cal reports setting forth opinions regarding Rogers’ injury and
treatment. In one such report, Dr. John Massey stated that
Rogers’ complaints were “disproportionate with what would
be expected from the back injury which was sustained and the
surgical intervention that was undertaken.” He expressed con-
cern about possible adverse effects from Rogers’ medication
regimen and recommended weaning her from oral opiates. In a
subsequent report, Dr. Massey expressed concern that Rogers
was taking fentanyl, Norco, Lyrica, Valium, and Flexeril. He
stated that patients often believe that such a combination of
opioids, benzodiazepines, and muscle relaxants is more benefi-
cial than it is. JSC also offered a report of Dr. Phillip Essay,
                              - 609 -
          Nebraska Supreme Court Advance Sheets
                   304 Nebraska Reports
                  ROGERS v. JACK’S SUPPER CLUB
                       Cite as 304 Neb. 605
who reviewed Rogers’ records and examined her. He stated that
Rogers’ complaints of pain were disproportionate with what
would be expected and that there “is no evidence to support
the long-term use of opioids for [Rogers’] condition related to
the work injury.” Dr. Essay also recommended weaning Rogers
from the opioid portion of the medication regimen.
Compensation Court Order
on Motion to Compel.
   Following the hearing, the compensation court issued a writ-
ten order. It rejected JSC’s argument that it was not responsible
for the medical expenses because Rogers failed to comply
with Neb. Rev. Stat. § 48-120(2) (Cum. Supp. 2018), a statute
governing selection of treating physicians. It concluded that
the provisions of § 48-120(2) should not apply under the cir-
cumstances because Rogers had moved to Florida and could
not be expected to obtain a referral from her Nebraska doctor
for a physician in Florida. It also stated that the alleged failure
to obtain a referral from a physician is an affirmative defense
which JSC failed to plead.
   The compensation court went on to summarize the medi-
cal opinions of Drs. Daitch, Massey, and Essay. It concluded
that the treatment provided by Dr. Daitch was reasonable and
related to Rogers’ injury at work. The compensation court
ordered JSC to pay certain bills offered by Rogers. It also
stated that Rogers was allowed to continue treatment with Dr.
Daitch’s office.
   JSC filed a timely appeal of this decision.
                 ASSIGNMENTS OF ERROR
   JSC assigns, summarized, that the compensation court erred
in three respects: (1) by rejecting JSC’s argument that it was
not responsible to reimburse Rogers for medical bills she
incurred from providers in Florida, (2) by finding that the
medical treatment provided to Rogers in Florida was reason-
able and necessary, and (3) by failing to provide a basis for
meaningful appellate review.
                              - 610 -
          Nebraska Supreme Court Advance Sheets
                   304 Nebraska Reports
                  ROGERS v. JACK’S SUPPER CLUB
                       Cite as 304 Neb. 605
                   STANDARD OF REVIEW
   [1] A judgment, order, or award of the compensation court
may be modified, reversed, or set aside only upon the grounds
that (1) the compensation court acted without or in excess of
its powers; (2) the judgment, order, or award was procured
by fraud; (3) there is not sufficient competent evidence in
the record to warrant the making of the judgment, order, or
award; or (4) the findings of fact by the compensation court
do not support the order or award. Martinez v. CMR Constr. &amp;
Roofing of Texas, 302 Neb. 618, 924 N.W.2d 326 (2019).
   [2,3] An appellate court is obligated in workers’ compensa-
tion cases to make its own determinations as to questions of
law. Id. Findings of fact made by the Workers’ Compensation
Court after review have the same force and effect as a jury
verdict and will not be set aside unless clearly erroneous. Id.   [4] As the trier of fact, the Workers’ Compensation Court is
the sole judge of the credibility of witnesses and the weight to
be given their testimony. Id.
                           ANALYSIS
Compliance With § 48-120(2)
and Rule 50.
   We begin our analysis with JSC’s argument that the com-
pensation court erred by ordering it to pay for medical bills
Rogers incurred from providers in Florida. JSC argues that
Rogers incurred these charges in violation of § 48-120(2)(a)
and Workers’ Comp. Ct. R. of Proc. 50 (2018) and that there-
fore, it is not responsible to reimburse Rogers. Rogers’ injury
occurred in 2001. In the intervening years, the relevant statu-
tory provisions and rules have remained the same or substan-
tially similar. Therefore, we will refer to the current versions of
the applicable statutes and rules. See Allen v. Immanuel Med.
Ctr., 278 Neb. 41, 767 N.W.2d 502 (2009).
   Section 48-120 contains rules that govern from whom an
injured employee may obtain medical treatment for a com-
pensable injury. Those rules allow an employee, in some
                             - 611 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                 ROGERS v. JACK’S SUPPER CLUB
                      Cite as 304 Neb. 605
circumstances, to select a physician to provide such treat-
ment. There is no dispute that Rogers made such a selection
by designating Dr. Beyers on the Form 50. Both parties refer
to a physician selected by the employee under § 48-120(2)(a)
as a “Form 50 Physician,” a term we will use in our analysis
as well.
   JSC’s argument relies on the following portions of § 48-120:
         (2)(a) The employee has the right to select a physi-
     cian who [meets particular criteria]. . . . If selection
     of the initial physician is made by the employee or
     employer pursuant to this subsection following notice by
     the employer pursuant to this subsection, the employee
     or employer shall not change the initial selection of
     physician made pursuant to this subsection unless such
     change is agreed to by the employee and employer or is
     ordered by the compensation court pursuant to subsec-
     tion (6) of this section. . . .
         ....
         (e) The physician selected may arrange for any con-
     sultation, referral, or extraordinary or other specialized
     medical services as the nature of the injury requires.
         (f) The employer is not responsible for medical serv­
     ices furnished or ordered by any physician or other person
     selected by the employee in disregard of this section. . . .
         ....
         (6) The compensation court shall have the authority to
     determine the necessity, character, and sufficiency of any
     medical services furnished or to be furnished and shall
     have authority to order a change of physician, hospital,
     rehabilitation facility, or other medical services when it
     deems such change is desirable or necessary.
   JSC also invokes rule 50 of the Workers’ Compensation
Court rules of procedure. Portions of rule 50 address the same
subject, providing as follows:
         A. . . .
         ....
                              - 612 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                 ROGERS v. JACK’S SUPPER CLUB
                      Cite as 304 Neb. 605
         4. The employee may not change the primary treating
      physician chosen . . . unless the employer agrees or the
      compensation court orders the change. . . .
         ....
         C. . . . [T]here can be no change in the primary treating
      physician unless the employee and the employer agree or
      the compensation court orders a change.
         D. The primary treating physician may arrange for spe-
      cialized medical services the employee needs. A referral
      by the primary treating physician is not a change.
(Emphasis omitted.)
   Rule 50 appears to impose the same requirements as the
provisions of § 48-120(2) quoted above. We thus limit our
analysis to interpreting § 48-120(2). We will do so by applying
our familiar rules of statutory interpretation, which we briefly
recount below.
   [5-7] When interpreting a statute, the starting point and
focus of the inquiry is the meaning of the statutory language,
understood in context. State v. Garcia, 301 Neb. 912, 920
N.W.2d 708 (2018). Statutory language is to be given its
plain and ordinary meaning, and an appellate court will not
resort to interpretation to ascertain the meaning of statutory
words which are plain, direct, and unambiguous. State v. Wal,
302 Neb. 308, 923 N.W.2d 367 (2019). It is not within the
province of the courts to read meaning into a statute that is
not there or to read anything direct and plain out of a statute.
Stewart v. Nebraska Dept. of Rev., 294 Neb. 1010, 885 N.W.2d
723 (2016).
   The plain language of § 48-120(2) supports JSC’s position
that it is not responsible to pay for medical treatment unless
it was provided by the Form 50 Physician or by a provider
to whom the patient was referred by the Form 50 Physician.
Section 48-120(2)(a) permits the employee to select a physi-
cian, and § 48-120(2)(e) allows the selected physician to make
referrals to other providers. Section 48-120(2)(a) also allows
the Form 50 Physician to be changed, but only if “agreed to
                             - 613 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                 ROGERS v. JACK’S SUPPER CLUB
                      Cite as 304 Neb. 605
by the employee and employer” or if “ordered by the com-
pensation court pursuant to [§ 48-120(6)].” And an employee
may unilaterally select a new physician if the employer denies
compensability for treatment provided by physicians within
the rule 50(A)(4) chain of referrals. See Clark v. Alegent
Health Neb., 285 Neb. 60, 825 N.W.2d 195 (2013). Section
48-120(2)(f), however, provides that “[t]he employer is not
responsible for medical services furnished or ordered by any
physician or other person selected by the employee in disre-
gard of this section.”
   Rogers does not even attempt to argue that the plain lan-
guage of § 48-120(2)(a) entitles her to reimbursement for treat-
ment from a provider that was not her Form 50 Physician or
a person to whom she was referred by her Form 50 Physician.
Instead, she argues that we should not follow the plain lan-
guage in this case. Alternatively, she contends that JSC cannot
rely on § 48-120(2) because of certain actions and omissions
on its part. We discuss each of these arguments below.
   [8] Rogers primarily argues that the plain language of
§ 48-120(2) should not be followed because it would lead
to an absurd result in this case. She argues we may deviate
from the plain language of the statute and specifically points
us to language in Anthony, Inc. v. City of Omaha, 283 Neb.
868, 887-88, 813 N.W.2d 467, 482 (2012), where we said the
following:
      When words of a particular clause, taken literally, would
      plainly contradict other clauses of the same statute, or
      lead to some manifest absurdity or to some consequences
      which we see plainly could not have been intended, or to
      result manifestly against the general term, scope, and pur-
      pose of the law, then we may apply the rules of construc-
      tion to ascertain the meaning and intent of the lawgiver,
      and bring the whole statute into harmony if possible.
   We disagree with Rogers that application of the plain lan-
guage of § 48-120(2)(a) in these circumstances would lead to
“manifest absurdity.” Rogers argues that in circumstances in
                             - 614 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                 ROGERS v. JACK’S SUPPER CLUB
                      Cite as 304 Neb. 605
which a Form 50 Physician dies or the employee moves out
of state, the employee can no longer be treated by or receive
referrals from the Form 50 Physician and thus should be able
to unilaterally choose a new physician. The language of the
statute, however, does not leave employees in such situations
without remedies. A new Form 50 Physician can be selected
either with agreement of the employer or by bringing the mat-
ter to the attention of the compensation court and asking it to
approve a new Form 50 Physician. We cannot say that it would
be manifestly absurd for the Legislature to require persons
whose Form 50 Physician is no longer able to provide treat-
ment or make referrals to obtain a new Form 50 Physician
through the procedures explicitly set out in the statute.
   [9] Rogers is essentially making a policy argument that
persons in her position should not be limited to seeking agree-
ment with the employer or asking the compensation court to
appoint a new Form 50 Physician. But we are not tasked with
selecting what we believe is the best policy. It is the function
of the Legislature, through the enactment of statutes, to declare
what is the law and public policy of this state. Mays v. Midnite
Dreams, 300 Neb. 485, 915 N.W.2d 71 (2018).
   Neither are we persuaded by Rogers’ alternative arguments
that even if JSC’s statutory position is correct, it was nonethe-
less responsible to pay for the medical treatment she received
outside the Form 50 process. Rogers contends that JSC was
responsible to pay for treatment provided by doctors in Florida
because after Dr. Beyers died, it reimbursed her for treatment
she received from his colleague, Dr. Stonehocker. She also
contends that JSC is responsible because it failed to plead her
failure to obtain a written referral for treatment as an affirma-
tive defense.
   [10] Rogers appears to take the position that by making pay-
ments for treatment provided by Dr. Stonehocker, JSC effec-
tively gave Rogers the right to unilaterally obtain treatment
from anyone notwithstanding the limitations of § 48-120(2).
Rogers has not identified any statutory language that would
                             - 615 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                 ROGERS v. JACK’S SUPPER CLUB
                      Cite as 304 Neb. 605
support this argument. Moreover, it is inconsistent with
both general principles of workers’ compensation law and
§ 48-120(2)(a). Voluntary payments of workers’ compensa-
tion benefits do not constitute an admission of liability by the
employer. McBee v. Goodyear Tire &amp; Rubber Co., 255 Neb.
903, 587 N.W.2d 687 (1999). Furthermore, § 48-120(2)(a)
contemplates that the employer may agree to a change in the
Form 50 Physician. By providing reimbursement for treat-
ment provided by Dr. Stonehocker, JSC was not admitting it
was liable to make payments to anyone from whom Rogers
obtained treatment.
   Rogers fares no better with her argument that JSC cannot
rely on a failure to obtain a referral because it did not plead
it as an affirmative defense. The issue of whether JSC should
reimburse Rogers for her past medical bills was decided in the
context of a motion filed by Rogers. The Nebraska Workers’
Compensation Act allows for disputes to be presented by
motion. See Neb. Rev. Stat. § 48-162.03 (Cum. Supp. 2018).
We are aware of no authority, however, that requires (or even
allows) the nonmoving party in a workers’ compensation pro-
ceeding to make a filing in response to a motion. Thus, even
if the failure to obtain a referral is an affirmative defense,
we see no basis to conclude that JSC waived it by failing to
plead it.
   Having determined that the plain text of § 48-120(2) gov-
erns and that JSC did not somehow waive the right to rely
on that statute, it becomes clear that the compensation court
should not have ordered JSC to reimburse Rogers for medical
treatment obtained from providers in Florida. These provid-
ers were not Rogers’ initial Form 50 Physician, they did not
become the Form 50 Physician by way of either agreement
or court order, and Rogers was not referred to them by her
Form 50 Physician. The services they provided were thus
“medical services furnished or ordered by [a] physician or
other person selected by the employee in disregard of this
section.” § 48-120(2)(f). JSC is not responsible to pay for
                             - 616 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                 ROGERS v. JACK’S SUPPER CLUB
                      Cite as 304 Neb. 605
such services, and the compensation court erred by holding
to the contrary.

Rule 11.
   We now turn to JSC’s contention that the compensation
court’s decision did not comply with Workers’ Comp. Ct. R.
of Proc. 11 (2011). Among other things, rule 11 requires that a
“decision[] of the court shall provide the basis for a meaningful
appellate review.” JSC argues that the portion of the compensa-
tion court’s order stating that Rogers may continue to receive
treatment from Dr. Daitch’s office did not provide a basis for
meaningful appellate review. We agree.
   While the compensation court clearly explained the reason-
ing supporting its conclusion that JSC was responsible for
medical bills Rogers already incurred, it went on to discuss
whether JSC should be responsible for medical treatment pro-
vided by Dr. Daitch and his colleague, Dr. Michael Frey, going
forward. It stated:
        It appears that the only argument in this case, as far
     as treatment, is whether or not it is appropriate to use
     narcotics or opioids for an extended period of time. When
     [Rogers] first began treatment with Dr. Daitch and Dr.
     Frey, the use of opioids for pain was well accepted. It is
     only recently that the use of opioids has been questioned
     because of potential issues or problems with addiction.
     This being the case, it is time for both Dr. Daitch and Dr.
     Frey to review the plan of treatment and review alterna-
     tives to opioids such has been proposed by Dr. Massey
     and Dr. Essay.
        If [JSC] desire[s] Dr. Daitch to review his plan and
     prepare a new plan, and explain why there cannot be a
     change in medications, it must do so at its own cost. The
     parties should agree on a method to ask Dr. Daitch to
     review his old plan and prepare a new plan, and explain
     why alternatives to the use of opioids are not utilized.
     This is something for the parties to work out as far as how
                              - 617 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                 ROGERS v. JACK’S SUPPER CLUB
                      Cite as 304 Neb. 605
      it gets done, but it may be in the best interest of [Rogers]
      to have the plan, which has been in effect for a number
      of years, reviewed and a new plan prepared. A new plan
      may be the old plan, but some statements should be made
      on why [Rogers] is not weaned off of some of her narcot-
      ics. The parties should know this court has no jurisdiction
      over Dr. Daitch.
At the conclusion of its order, the compensation court stated
that Rogers “is allowed to continue treatment with Dr. Frey and
Dr. Daitch.”
   We cannot determine what the compensation court meant
by ordering that Rogers is allowed to continue treatment with
Dr. Daitch’s office. It is not clear if the compensation court
intended to make Dr. Daitch Rogers’ Form 50 Physician going
forward or if it made the necessary findings to do so. We have
previously alluded to the compensation court’s authority to
order a change of the Form 50 Physician, but it can do so when
it “deems such change is desirable or necessary.” § 48-120(6).
We read the compensation court’s order, however, to equivo-
cate about whether it is “desirable or necessary” for Rogers to
continue to be treated by Dr. Daitch. While the order stated that
Rogers could continue to receive treatment from Dr. Daitch, it
expressed concern about the opioids he continues to prescribe
for Rogers.
   In addition, the compensation court appeared to believe that
some type of review of the opioid regimen prescribed by Dr.
Daitch was necessary. We do not understand from its order,
however, whether the court was ordering such a review or
what effect the results of that review might have on whether
the compensation court believes it is necessary or desirable for
Rogers to have Dr. Daitch as her Form 50 Physician.
   We have previously reversed orders and remanded causes
under rule 11 when it was not possible to determine whether
the compensation court made the findings necessary to support
the relief awarded. See, e.g., Owen v. American Hydraulics,
254 Neb. 685, 578 N.W.2d 57 (1998); Hale v. Standard Meat
                            - 618 -
         Nebraska Supreme Court Advance Sheets
                  304 Nebraska Reports
                ROGERS v. JACK’S SUPPER CLUB
                     Cite as 304 Neb. 605
Co., 251 Neb. 37, 554 N.W.2d 424 (1996). We believe it is
appropriate to do so for the same reason here. Upon remand,
the compensation court shall enter an order regarding Rogers’
right to reimbursement for ongoing medical treatment that
complies with rule 11. Such order shall address whether it is
changing Rogers’ Form 50 Physician under § 48-120(6) and
clarify the ambiguity about any review of Rogers’ treatment
regimen that is to take place.
                         CONCLUSION
   Because we find that the compensation court erred by order-
ing JSC to reimburse Rogers for treatment from providers
selected in disregard of § 48-120(2) and by issuing a decision
that did not comply with rule 11, we reverse the order and
remand the cause with directions to enter an order in compli-
ance with rule 11.
                 Reversed and remanded with directions.
   Stacy, J., not participating.
